Case 2:18-cv-09405-SRC-CLW Document 1-1 Filed 05/18/18 Page 1 of 10 PageID: 5




                            EXHIBIT A




                                                                  PHDATA 6454657_1
Case 2:18-cv-09405-SRC-CLW     Document
       ESX-L-001904-18 03/19/2018          1-1 PgFiled
                                  12:50:23 PM           05/18/18
                                                   1 of 8           Page 2 of 10 PageID: 6
                                                          Trans ID: LCV2018491065




        CORRADINO &PAPA,LLC
        Casey Building
        935 Allwood Road
        Clifton, NJ 07012
        {973}574-1200
        Jack Vincent Corradino,Esq.
        Attorney I.D. No.: 002761996
        Attorneysfor Plaintff(s)

        ISABEL MELENDEZ AND ROBERT                      SUPERIOR COURT OF NEW JERSEY
        MELENDEZ(her husband),                          LAW DIVISION: ESSEX COUNTY
                             Plaintiffs,                DOCKET NO.: ESX-L-
        v.
                                                                        Civil Action
        TARGET CORPORATION,JOHN DOES
        1- 10, JANE DOES 1-10 (fictitious names),
        ABC CORPS. 1-ld,(fictitious business              COMPLAINT AND JURY DEMAND
        entities whose identities are presently
        unknown),

                             Defendants.

               Plaintiffs, ISABEL MEL~NDEZ AND ROBERT MELENDEZ, residing at

        390 PREAKNESS AVENUE, IN THE CITY OI+ PAT~RSON, COUNTY OF

        PASSAIC AND STATE OF NEW JERSEY, by way of Complaint against the listed

        defendants)respectfully say that:

                                            FIRST COUNT

               1.     On or about AUGUST 19, 2016, plaintiff was lawfiiily upon a premises

        located in and around the area of 632 ROUTE 46 EAST, IN THE TOWNSHIP OF

        FAIRFIELD,COUNTY OF ESSEX AND STATE OF NEW JERSEY.

               2.     At all relevant times, Defendant(s), TARGET CORPORATION,JOHN

        DOES 1-10, JANE JOES 1-10, ABC CORPS. i-10 owned.a property located at 632

        Route 46 East, in the Township of Fairfield, County of Essex and State of New Jersey.




                                                                       CORRADINO & PAPA,LLC
                                                                               935 Allwood Road,Suite 240
                                                                                        Clifton, N.J. 07012
                                                                                          (973)574-12Q0
Case 2:18-cv-09405-SRC-CLW     Document
       ESX-L-001904-18 03/19/2018          1-1 PgFiled
                                  12:50:23 PM          05/18/18
                                                  2 of 8            Page 3 of 1065PageID: 7
                                                         Trans ID: LCV20184910




               3.      At said time and place, the plaintiff slipped and fell due to a wet substance

        on the floor while walking upon said premises due to the negligence, carelessness, and/or

        recklessness ofthe Defendant(s).

               4.      The Defendants were negligent, careless, and/or reckless in that they

        including, but not limited to:

                       {a}     Did not keep the premises in a safe condition;

                      (b)      Did not exercise due and proper care;

                      (c)      Caused a dangerous and hazardous condition to exist;

                      (d)      Failed to provide proper safeguards and warnings on its property;

                       {e)     Failed to provide proper, safe and clear access for persons allowed

                               and invited to use said property, including the plaintiff;

                      (~       Was otherwise negligent in the premises.

               5.      Defendant(s), TARGET CORPORATION,JOHN DOES 1-10,JANE

        JOSS 1-10, ABC CORPS.1-10 are/were vicariously liable for the negligence,

        carelessness, and/or recklessness of their agents, servants, and/or employees,

               6.      As a direct and proximate result ofthe negligence, carelessness, and/or

        recklessness ofthe Defendants as aforesaid, the Plaintiff was caused to suffer severe and

        permanent bodily injuries, has suffered and will in the future continue to suffer great and

        excruciating pain in mind and body, has and will continue to lose enjoyment of life, has

        become and will in the future continue to be sick, sore, lame, disabled and prevented

        from performing and tending to her duties, affairs and foreseeable activities, and has

        expended and will in the future continue to expend large sums of money for necessary

        medical care and attention in an attempt to effect a cure.




                                                     2                      CORRADINO &PAPA,LLC
                                                                                    935 Allwood Road,Suite ?AO
                                                                                             Clifton, N.J,07012
                                                                                               (973)574-1200
Case 2:18-cv-09405-SRC-CLW     Document
       ESX-L-001904-18 03/19/2018          1-1 PgFiled
                                  12:50:23 PM     3 of 805/18/18    Page 4 of 10 PageID: 8
                                                         Trans ID: LCV2018491065




                WHEREFORE,Plaintiffs respectfully demand judgment against the Defendants

        jointly, severally or in the alternative for compensatory damages,interest, costs of suit, and

        such other and further relief as the Court deems just and proper.

                                             SECOND COUNT

                1.      Plaintiffs repeat and reallege the allegations contained in the First Count

        of the Complaint as if set forth herein at length.

                2.      At all relevant times, Defendant(s), TARGET CORPORATION,JOHN

        DOES 1-1.0, JANE JOES 1-10, ABC CORPS. 1-10, managed, controlled, and/or were

        otherwise responsible fox the upkeep, quality, maintenance andlor repair of the premises,

        including the interior aisles in and around the area where Plaintiff was caused to fall.

                3.      The Defendants were negligent, careless, and/or reckless in that they

        including, but not limited to:

                       (a)      Did not keep the premises in a safe condition;

                       (b}      Did not exexcise due and proper care;

                       (c)      Caused a dangerous and hazardous condition to exist;

                      (d)       Failed to provide proper safeguards and warnings on its property;

                       (e)      Failed to provide proper, safe and clear access for persons allowed

                                and invited to use said property, including the plaintiff;

                       (~       Was otherwise negligent in the premises.

               4.       Defendant(s), TARGET CORPORATION,JOHN DOES 1-10, JANE

        JOES 1-10, AND/OR ABC CORPS.1-10 are/were vicariously liable for the negligence,

        carelessness, andlor recklessness oftheir agents, servants, and/or employees.




                                                       3                     CORRADINO &PAPA,LLC
                                                                                     935 Allwood Road, Suite 240
                                                                                              Clifton, N.J. 07012
                                                                                                (973)574-1200
Case 2:18-cv-09405-SRC-CLW     Document
       ESX-L-001904-18 03/19/2018          1-1 PgFiled
                                  12:50:23 PM          05/18/18
                                                  4 of 8           Page 5 of 1065
                                                         Trans ID: LCV201849 10 PageID: 9




               5.       As a direct and proximate result of the negligence, carelessness, and/or

        recklessness ofthe Defendants as aforesaid, the Plaintiff was caused to suffer severe and

        permanent bodily injuries, has suffered and will in the future continue to suffer great and

        excruciating pain in mind and body, has and will continue to lose enjoyment of life, has

        become and wi11 in the future continue to be sick, sore, lame, disabled and prevented

        from performing and tending to her duties, affairs and foreseeable activities, and has

        expended and will in the futw•e continue to expend large sums of money for necessary

        medical care and attention in an attempt to effect a cure.

                WHEREFORE,Plaintiffs respectfully demand judgnnent against the Defendants

        jointly, severally or in the alternative far compensatozy damages, interest, costs ofsuit, and

        such other and further relief as the Court deems just and proper.

                                              THIRD COUNT

                I.      Plaintiffs repeat and reallege alI of the allegations contained in the First

        and Second Counts ofthe Complaint as if set forth herein at length.

                2.      The Defendant(s), JOHN DOES 1-10, JANE DOES 1-1.0, ABC

        CORPS.1-10 (fictitious individuals and business entities whose identities are presently

        unknown}, owned, managed, maintained, and/or controlled the property located at 632

        Route 46 East, in the Township of Fairfield, County of Essex and State ofNew Jersey.

                3.      The Deferzdant(s), JOHN DOES 1-10, JANE DOES 1-10, ABC

        CORPS.1-10 (fctitious individuals and business entities whose identities are presently

        unknown), negligently, carelessly, and/or recklessly owned, managed, maintained,

        repaired, and/or controlled premises, causing Plaintiff to fall.




                                                       4                     CORRADINO &PAPA,LLC
                                                                                      935 Allwaod Road, Suite 240
                                                                                               Clifton, N.J. 07012
                                                                                                 (973)574-1200
Case 2:18-cv-09405-SRC-CLW      Document
        ESX-L-001904-18 03/19/2018 12:50:23 1-1 Filed
                                            PM Pg 5 of 05/18/18    Page 6 of 1065
                                                       8 Trans ID: LCV20184910  PageID: 10




                4.      The Defendants were negligent, careless, and/or reckless in that they

         inciuduig, but not limited to:

                       (a)      Did not keep the premises in a safe condition;

                       (b)      Did not exercise due and proper care;

                       (c)      Caused a dangerous and hazardous condition to exist;

                       (d)      Failed to provide proper safeguards and warnings on its property;

                       (e)      Failed to provide proper, safe and clear access for persons allowed

                                and invited to use said property, including the plaintiff;

                       (fl       Was otherwise negligent in the premises,

                5.      The Defendants) are/were vicariously liable for the negligence,

         carelessness, and/or recklessness oftheir agents, servants, and/or employees.

                6.       As a direct and proximate result ofthe negligence, carelessness, and/or

         recklessness ofthe Defendants as aforesaid, the Plaintiff was caused to suffer severe and

         permanent bodily injuxies, has suffered and will in the future continue to suffer great and

         excruciating pain in mind and body, has and will continue to lose enjoyment oflife, has

         become and will in the futuxe continue to be sick, sore, lame, disabled and.prevented

         from performing and tending to her duties, affairs and foreseeable activities, and has

         expended and will in the future continue to expend large sums of money for necessary

         medical care and attention in an attempt to effect a cure.

                 WHEREFORE,Plaintiffs respectfully demand judgment against the Defendants

         jointly, severally or in the alternative for compensatory damages,interest, costs ofsuit, and

         such other and further relief as the Court deemsjust and proper.




                                                       5                     CORRADINO &PAPA,LLC
                                                                                     935 Allwood Road, Suite 240
                                                                                              Clifton, N.J. 07012
                                                                                                (973}574-1200
Case 2:18-cv-09405-SRC-CLW       Document
       II ESX-L-001904-18 03/19/2018 12:50:23 1-1 Filed
                                              PM Pg 6 of05/18/18
                                                        8 Trans ID: Page 7 of 10 PageID: 11
                                                                    LCV2018491065




                                        FOURTH COUNT

                   1.    Plaintiffs repeat and reiterate each and every paragraph contained in the

         First, Second and Third Counts as if set forth at length herein.

                   2,    Plaintiff, ROBERT MELENDEZ,at all relevant times is and has been

         the lawful husband ofPlaintiffISABEL MELENDEZ,and as such is entitled to her care

         and consortium.

                   3.    As a direct and proximate result ofthe aforesaid Defendants' negligence,

         carelessness and/or recklessness, Plaintiff, ROBERT MELENDEZ,has been caused to

         sustain a loss ofconsortium and services of his wife,ISABEL MELENDEZ.

                   WHEI2~FORE,Plaintiffs demand judgment against the Defendants as aforesaid,

         either jointly, severally ar in the alternative, for damages together with interest and costs

         ofsuit.




         Dated: March 14, 2018




                   Plaintiffs, ISABEL MELENDEZ AND ROBERT MEL~NDEZ, hereby

         demand a trial by jury as to all issues so triable in the above matter pursuant to R. 1:8-

         2(b),(c), et seq.


         Dated: March 19, 2018                          By:       /
                                                                  '~~r/~ /
                                                               JAC~
                                                               --   NCE CORRADINO




                                                       6                     CORRADINO &PAPA,LLC
                                                                                     935 Allwood Road,Suite 240
                                                                                              Clifton, N.J. 07012
                                                                                                (973) 574-1200
Case 2:18-cv-09405-SRC-CLW       Document
       ~~ ESX-L-001904-18 03/19/2018 12:50:23 1-1 Filed
                                              PM Pg 7 of05/18/18
                                                        8 Trans ID: Page 8 of 10 PageID: 12
                                                                    LCV2018491065




                                             TIME UNIT RULE

                Plaintiffs) intends on using the Time Unit pursuant to Rula 1:7-1(b).



         Dated: March 19,2018                            By:                        ~               ~
                                                                 JACK V1N         TC                O




                In accordance with R.. 4:25-4, Timothy J. Fonseca, Esq,, is hereby designated as

         trial counsel as to all issues and matters affecting this litigation on behalf of the Plaintiffs,

         ISABEL MELENDEZ AND ROBERT M~LEND~Z.                                               ,~~^



         Dated: March 19, 2018                           By:             /   ~/ ~
                                                                 JAC     CENT   O



                                                                              4

                The plaintiffs) hereby certify that the matter in controversy is not the subject of

         any other action pending in any court and is likewise not the subject of any pending

         arbitration proceeding. The plaintiffs) further certify that the plaintiff{s) have no

         knowledge of any contemplated action or arbit~•ation proceeding which is contemplated

         regarding the subject matter of this action and is not aware of any other parties who

         should be joined in this action.



         Dated: March 19, 2018                           B;




                                                        ~                      CORRADINO &PAPA,LLC
                                                                                       935 Allwood Road, Suite 240
                                                                                                Clifton, N,J. 07012
                                                                                                  (973)574-1200
Case 2:18-cv-09405-SRC-CLW      Document
        ESX-L-001904-18 03/19/2018 12:50:23 1-1 Filed
                                            PM Pg 8 of05/18/18    Page 9 of 10 PageID: 13
                                                      8 Trans ID: LCV2018491065




                       DEMAND FOR INTERROGATORY ANSWERS

                Demand is hereby made upon Defendants to provide answers to the applicable

         Uniform Personal Injury Interrogatories Form C and C(2) within the time prescribed by

         the Rules of Court.



         Dated: March I9,2017                       B




                                                                      CORRADINO &PAPA,LLC
                                                                             935 Allwood Road,Suite 240
                                                                                      Clifton, N.J.07012
                                                                                        (973)574-1200
  Case 2:18-cv-09405-SRC-CLW    Document
              ESX L 001904-18 03/20/2018    1-1 AM
                                         5:04:50 Filed
                                                     Pg05/18/18   Page
                                                        1 of 1 Trans     10 of 10 PageID: 14
                                                                     ID: LCV2018496423

ESSEX COUNTY - CIVIL DIVISION
SUPERIOR COURT OF NJ
465 MARTIN LUTHER KING JR BLVD
NEWARK           NJ 07102
                                              TRACK ASSIGNMENT NOTICE
COURT TELEPHONE NO. (973) 776-9300
COURT HOURS 8:30 AM - 4:30 PM

                             DATE:   MARCH 19, 2018
                             RE:     MELENDEZ ISABEL VS TARGET CORPORATION
                             DOCKET: ESX L -001904 18

      THE ABO~IE CASE HAS BEEN ASSIGNED TO:   TRACK 2.

     DISCOVERY IS   300 DAYS AND RUNS FROM THE FIRST ANSWER OR 90 DAYS
FROM SERVICE ON THE FIRST DEFENDANT, WHICHEVER COMES FIRST.

      THE PRETRIAL JUDGE ASSIGNED IS:   HON ANNETTE SCOCA

       IF YOU HA~7E ANY QUESTIONS, CONTACT TEAM     002
AT:   (973) 776-9300.

      IF YOU BELIEVE THAT THE TRACK IS INAPPROPRIATE YOU MUST FILE A
 CERTIFICATION OF GOOD CAUSE WITHIN 30 DAYS OF THE FILING OF YOUR PLEADING.
      PLAINTIFF MUST SERVE COPIES OF THIS FORM ON ALL OTHER PARTIES IN ACCORDANCE
WITH R.4:5A-2.
                            ATTENTION:
                                             ATT: TIMOTHY J. FONSECA
                                             CORRADINO & PAPA LLC
                                             935 ALLWOOD RD STE 240
                                             CLIFTON          NJ 07012

ECOURTS
